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 1   KYLE L. SCHRINER (State Bar No. 215853)
     SCHRINER LAW FIRM, PC
 2   2140 Shattuck Ave., Suite 1105
 3   Berkeley, CA 94704
     Telephone: (415) 321-4924
 4   Facsimile: (415) 520-6450
     Email:     kyle@schrinerlaw.com
 5
     Attorneys for Defendant
 6   PACIFIC GATEWAY CONCESSIONS LLC
 7
 8                              UNITED STATES DISTRICT COURT
 9
                             NORTHERN DISTRICT OF CALIFORNIA
10
11                                     OAKLAND DIVISION
12
13   CHRISTOPHER HUFFMAN, individually,                Case No. 4:19-cv-01791-PJH
     and on behalf of other members of the
14                                                     DEFENDANT’S REQUEST FOR JUDICIAL
     general public similarly situated,
15                                                     NOTICE IN SUPPORT OF MOTION TO
                         Plaintiff,                    DISMISS CLAIMS FOR RELIEF
16
           v.                                          [Notice of Motion, Memorandum of Points
17                                                     and Authorities, Declaration, and Proposed
     PACIFIC GATEWAY CONCESSIONS LLC,                  Order are filed concurrently]
18
     a California limited liability company; and
19   DOES 1 through 100, inclusive,                    HEARING
                                                       Date: June 5, 2019
20                                                     Time: 9:00 a.m.
                         Defendants.                   Place: Courtroom 3
21
                                                       (Removed from San Mateo County Superior
22                                                     Court Case No. 19-CIV-00412)
23
                                                       [Complaint filed January 18, 2019]
24
25
26
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                                                   1
        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS CLAIMS FOR RELIEF
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 1         Pursuant to Federal Rule of Evidence 201, Pacific Gateway Concessions LLC
 2   (“Defendant”) requests the Court take judicial notice of the following facts in support of
 3   Defendant’s motion to dismiss. Judicial notice of the following is appropriate under Rule
 4   201(b)(2) because the facts “can be accurately and readily determined” from the
 5   documents identified below, which Defendant previously has filed in this action or files
 6   herewith, and the accuracy of those documents “cannot reasonably be questioned.”
 7         1.     The Complaint filed by Christopher Huffman (“Plaintiff”) on January 18, 2019
 8   in the San Mateo County Superior Court, Case No. 19-CIV-00412, and the following facts:
 9   the claims Plaintiff has asserted and the allegations he has set forth in the Complaint.
10   Defendant has filed in this action a true copy of the Complaint as part of “Exhibit 1” to
11   Defendant’s Notice of Removal, as Docket No. 1-1, pages 8 to 34, filed on April 3, 2019.
12         2.     The Declaration of Gabriel Aviles in Support of Defendant’s Notice of
13   Removal of Action, which Defendant has filed in this action as “Exhibit 2” to Defendant’s
14   Notice of Removal, as Docket No. 1-2, filed on April 3, 2019, and each of the following facts
15   established thereby:
16                a.        The authenticity of the four collective bargaining agreements (“CBAs”)
17         governing the employment of Plaintiff and other members of the putative class,
18         attached as “Exhibits A, B, C and D” thereto;
19                b.        The express terms and provisions of each of those CBAs;
20                c.        Plaintiff was employed by Defendant at the San Jose International
21         Airport;
22                d.        Plaintiff was an active member of the union thereat; and
23                e.        Plaintiff earned more than 30% of the California minimum wages
24         applicable to the period of four years before he filed the Complaint (i.e., from
25         January 2015) until he quit in 2016.
26         3.     The minimum wage in California was $9 per hour in 2015 and $10 per hour in
27   2016. Attached as Exhibit 1 hereto is a true copy of a web page maintained by the
28

                                                    2
        REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS CLAIMS FOR RELIEF
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 1   California Department of Industrial Relations demonstrating these minimum wage rates,
 2   <https://www.dir.ca.gov/iwc/minimumwagehistory.htm>.
 3
 4          Accordingly, pursuant to Rule 201(b)(2), Defendant respectfully requests the Court
 5   take judicial notice of the foregoing matters.
 6
 7          Dated: April 30, 2019                          Respectfully submitted,
 8                                                         SCHRINER LAW FIRM, PC
 9
10
                                                                 /s/ Kyle L. Schriner
11                                                    By: Kyle L. Schriner
                                                          Attorneys for Defendant PACIFIC
12
                                                          GATEWAY CONCESSIONS LLC
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         REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION TO DISMISS CLAIMS FOR RELIEF
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           EXHIBIT 1
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                                                                                   Press room   Índice en español    Settings


    Department of
    Industrial Relations
   iwc       History of California Minimum Wage



   History of California Minimum Wage
                   Minimum Wage (for                Minimum Wage (for     Percentage of Increase        Percentage of Increase
     E ective      Employers with 26                Employers with 25     Over Previous Wage (26        Over Previous Wage (25
     Date          Employees or More)               Employees or Less)    Employees or More)            employees or Less)

     January       $11.00/hour                      $10.50/hour           4.76 percent                  5 percent
     1, 2018

     January       $10.50/hour                      $10.00/hour           5 percent                     No Change
     1, 2017


                             New                Old
                             Minimum            Minimum           Amount of Wage          Percentage of Increase Over
     E ective Date           Wage               Wage              Increase                Previous Wage

     January 1, 2016         $10.00             $9.00             $1.00                   11.1 percent

     July 1, 2014            $9.00              $8.00             $1.00                   12.5 percent

     January 1, 2008         $8.00              $7.50             $0.50                   6.7 percent

     January 1, 2007         $7.50              $6.75             $0.75                   11.1 percent

     January 1, 2002         $6.75              $6.25             $0.50                   8.00 percent

     January 1, 2001         $6.25              $5.75             $0.50                   8.70 percent

     March 1, 1998           $5.75              $5.15             $0.60                   11.65 percent

     September 1,            $5.15              $5.00             $0.15                   3.00 percent
     1997

     March 1, 1997           $5.00              $4.75             $0.25                   5.26 percent

     October 1, 1996         $4.75              $4.25             $0.50                   11.76 percent


https://www.dir.ca.gov/iwc/minimumwagehistory.htm                                                                                1/4
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     July 1, 1988            $4.25              $3.35   $0.90               26.87 percent

     January 1, 1981         $3.35              $3.10   $0.25               8.06 percent

     January 1, 1980         $3.10              $2.90   $0.20               6.90 percent

     January 1, 1979         $2.90              $2.65   $0.25               9.43 percent

     April 1, 1978           $2.65              $2.50   $0.15               6.00 percent

     October 18,             $2.50              $2.00   $0.50               25.00 percent
     1976

     March 4, 1974           $2.00              $1.65   $0.35               21.21 percent

     February 1,             $1.65              $1.30   $0.35               26.92 percent
     1968

     August 30, 1964         $1.30              $1.25   $0.05               4.00 percent

     August 30, 1963         $1.25              $1.00   $0.25               25.00 percent

     November 15,            $1.00              $0.75   $0.25               33.33 percent
     1957

     August 1, 1952          $0.75              $0.65   $0.10               15.38 percent

     June 1, 1947            $0.65              $0.45   $0.20               44.44 percent

     February 8,             $0.45              $0.33   $0.12               36.36 percent
     1943

     1920                    $0.33              $0.28   $0.05               17.86 percent

     1919                    $0.28              $0.21   $0.07               33.33 percent

     1918                    $0.21              $0.16   $0.05               31.25 percent

     1916                    $0.16              -       -                   -



    Industrial Welfare Commission (IWC)


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